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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SNAPPI HOLDINGS (PTY) LTD.,
                                              Case No. 20-cv-01846
             Plaintiff,
                                              Judge Rebecca R. Pallmeyer
v.
                                              Magistrate Judge Sidney I. Schenkier
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

             Defendants.



                            Declaration of Justin R. Gaudio
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                          DECLARATION OF JUSTIN R. GAUDIO

   I, Justin R. Gaudio, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

   and the United States District Court for the Northern District of Illinois. I am one of the

   attorneys for Plaintiff Snappi Holdings (Pty) Ltd. (“Snappi” or “Plaintiff”).           Except as

   otherwise expressly stated to the contrary, I have personal knowledge of the following facts

   and, if called as a witness, I could and would competently testify as follows:

2. According to the Fiscal Year 2018 U.S. Customs and Border Protection (“CBP”) Intellectual

   Property Seizure Statistics Report, e-commerce sales have resulted in a sharp increase in the

   shipment of unauthorized products into the United States. Exhibit 1. Over 90% of all CBP

   intellectual property seizures were smaller international mail and express shipments (as

   opposed to large shipping containers). Id. Over 85% of CBP seizures originated from

   mainland China and Hong Kong. Id. A true and correct copy of an excerpt of this report is

   attached hereto as Exhibit 1.

3. According to a report released by the U.S. Chamber of Commerce Global Intellectual

   Property Center (GIPC) titled Measuring the Magnitude of Global Counterfeiting, at least 86

   percent of all global counterfeit products originate in Chinese and Hong Kong markets. A

   true and correct copy of an article released by GIPC summarizing the report is attached

   hereto as Exhibit 2.

4. A February 2017 report commissioned by Business Action to Stop Counterfeiting and Piracy

   (BASCAP) and the International Trademark Association (INTA) entitled The Economic

   Impacts of Counterfeiting and Piracy included findings that counterfeit and pirated products

   account for billions in economic losses, resulting in tens of thousands of lost jobs for




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   legitimate businesses and broader economic losses, including lost tax revenue. A true and

   correct copy of this report is attached hereto as Exhibit 3.

5. In my experience in combating online counterfeiting over the last ten years, I have observed

   counterfeiters using a variety of tactics to evade enforcement efforts. Specifically,

   counterfeiters like Defendants in the present case will often register new e-commerce stores

   under new aliases once they receive notice of a lawsuit.

6. In my experience, once notice of a lawsuit is received, counterfeiters such as Defendants

   move funds from their financial accounts to off-shore bank accounts outside the jurisdiction

   of this Court. Financial account transaction logs that I have reviewed in previous similar

   cases indicate that counterfeiters transfer and/or attempt to transfer funds to off-shore bank

   accounts outside the jurisdiction of this Court once they have received notice of a lawsuit.

7. For these reasons, in the absence of an ex parte Order, Defendants could and likely would

   move any assets from accounts in financial institutions subject to this Court’s jurisdiction to

   off-shore accounts.

8. Exhibit 4 attached hereto is a true and correct copy of the unpublished decisions cited in

   Snappi’s Memorandum in Support of its Motion for a Temporary Restraining Order.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 19th day of March 2020 at Chicago, Illinois.


                                             /s/ Justin R. Gaudio
                                             Justin R. Gaudio
                                             Counsel for Plaintiff Snappi Holdings (Pty) Ltd.




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